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DNJ-Cr-021 (09/2017)




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



  UNITED STATES OF AMERICA
                                             Criminal No. 21 Cr. 153 (KM)
                        v.

                                             SENTENCING SUBMISSION NOTICE
                                             OF DEFENDANT
  EDWIN CORDERO

                   Defendant(s).




        Please be advised that, on this date, defendant EDWIN CORDERO

submitted sentencing materials to the Court in this case.




Date: June 19, 2021



                                       By:     /s Brandon D. Minde
                                               DUGHI, HEWIT & DOMALEWSKI
